
The People of the State of New York, Respondent, - 
againstMD Hasan Iman, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (John Cataldo, J.H.O.), rendered March 17, 2014, convicting him, upon a plea of guilty, of violating Public Health Law § 229, and imposing sentence.




Per Curiam.
Judgment of conviction (John Cataldo, J.H.O), rendered March 17, 2014, reversed, on the law, accusatory instrument dismissed, and fine remitted. 
Based upon the unsatisfactory record now before us, including the notably terse and ambiguous plea colloquy underlying defendant's Summons Part conviction, it is unclear as to the exact charge to which defendant pleaded guilty. Under these circumstances, and as the People concede, the resultant conviction must be vacated. Given the relatively minor nature of the infraction here charged, we dismiss the accusatory instrument in lieu of ordering a new trial, a disposition recommended by the People. 
In light of our disposition, we reach no other issues.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: September 21, 2016










